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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                         *   MDL No. 2179
“DEEPWATER HORIZON” in the                              *
GULF OF MEXICO, on                                      *   SECTION J
APRIL 20, 2010                                          *
                                                        *   JUDGE BARBIER
THIS DOCUMENT RELATED TO:                               *   MAG. JUDGE SHUSAN
                                                        *
IN RE: TRITON ASSET LEASING GmbH                        *
Case No. 2:10-cv-02771-CJB-SS                           *

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                                   EXHIBIT A
Claimant                                   Date Filed            Docket Number
1 Art Catering                             03/01/2012            112518
2 Fallon & Associates Insurance Agency     09/28/2011            108690
3 Leslie Peters                            09/28/2011            108670
4 Michael Burns                            09/28/2011            108677
5 Brian Brown                              09/28/2011            108679
6 Anthony Caronia                          03/01/2012            112549
7 Elizabeth Mulrey                         02/16/2012            111242
8 Kirshell Butler                          03/01/2012            112548
9 Carlton Kennedy                          09/28/2011            108673
10 Natha Alexander                         12/13/2011            110159
11 Marvin Alexander                        12/13/2011            110158
12 Jerry Moll                              03/01/2012            112547
13 Damon Cockran                           03/01/2012            112546
14 Kevin Dillon                            02/16/2012            111244
15 Glynn Chaisson                          09/28/2011            108671
16 Clara’s Little Lambs Preschool          09/28/2011            108689
17 Tabias James                            12/13/2011            110150
18 Calixte Marshall                        09/28/2011            108681
19 Melissa Aldridge                        09/28/2011            108680
20 Mrs. Wheat’s Fabulous Foods, Inc.       12/13/2011            110161
21 Law Offices of Benjamin Misko           03/01/2012            112545
22 Dufour’s Fishing Charters               12/13/2011            110161
23 Dora Seals D/B/A Jani-King              09/28/2011            108672
24 EJ Brown Jr.                            09/28/2011            108686
25 Hansen-Dreijer Marine Enterprises, Inc. 03/01/2012            112544
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26 GMT, LLC                                03/01/2012    112543
27 Allen Matherne Jr. Welding              09/28/2011    108684
28 Rosel Maldonado                         02/16/2012    111257
29 Vincent’s Seafood/Cangelosi’s Seafood   09/28/2011    108692
30 Margaret Raziano                        09/28/2011    108687
31 Robert Levitt                           09/28/2011    108688
32 Lance McGee                             12/13/2011    110157
33 Wayne Jones                             09/28/2011    118675
34 Mo’s Pizza                              12/13/2011    110156
35 Allen Green                             09/28/2011    108678
36 Emanuel Brumfield                       03/01/2012    112542
37 Gary Hebert                             12/13/2011    110149
38 Linda Russo                             02/16/2012    111241
39 Little Ladies & Gentleman Daycare       12/13/2011    110155
40 George Harvey                           12/13/2011    110154
41 Damiyahn Verrett                        03/01/2012    112541
42 Jose Lopez                              12/13/2011    110152
43 Jason Winchester                        02/16/2012    111243
44 Richard Smith                           12/13/2011    110153
45 Wilber Seaman                           12/13/2011    110167
46 Joseph Simone II, DDS, LLC              09/28/2011    108674
47 Lanco Construction                      12/13/2011    110151
48 Rupert Johnson                          12/13/2011    110162
49 Samuel Johnson                          12/13/2011    110163
50 Pouwels & Associates, Inc.              12/13/2011    110164
51 Timothy January                         12/13/2011    110165
52 Candace Cinquemano                      12/13/2011    110166
53 Lisa Hence                              02/16/2012    111267
54 Shelly Sorina                           02/16/2012    111246
55 Gee Gee’s Soulfood & Seafood, LLC       02/16/2012    111261
56 Thomas O’Neil                           02/16/2012    111247
57 Dwayne Rovira                           02/16/2012    111264
58 Dwight Jones                            02/16/2012    111245
59 R&D Enterprises                         09/28/2011    108693
60 Izik Davis                              02/16/2012    111266
61 Stanley Palliser                        02/16/2012    111265
62 Nancy Saltzman                          03/01/2012    112540
63 Global Maritime Security, Inc.          02/16/2012    111268
64 John Spears                             02/16/2012    111253
65 V&M Video Poker, Inc.                   02/16/2012    111248
66 Donald Grodsky                          02/16/2012    111250
67 Albert Hills                            02/16/2012    111249
68 Larry Boudreaux                         02/16/2012    111251
69 American Cab                            02/16/2012    111252
70 Midship Marine                          03/01/2012    112539
71 Randy Hinojosa                          03/01/2012    112538
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72 Disposal Services, Inc.               03/01/2012      112537
73 Larry Rinehart                        02/16/2012      111254
74 Coraine Parker                        02/16/2012      111260
75 Tommy Lopez                           02/16/2012      111262
76 Chiquita Martin                       02/16/2012      111263
77 Brenda Tucker                         03/01/2012      112535
78 Complete Auto Repair                  03/01/2012      112534
79 Miguel Diaz                           03/01/2012      112533
80 MD New Creations, Inc.                03/01/2012      112532
81 MDN Creations, LLC                    03/01/2012      112531
82 Waldorff Insurance & Bonding, Inc.    03/01/2012      112530
83 Commercial Van Specialists            03/01/2012      112529
84 Jim Williams Development Co., Inc.    03/01/2012      112528
85 A&D Mobile Home Sales                 03/01/2012      112527
86 Cantwell Steel Erectors, Inc.         03/01/2012      112526
87 Star Management Group                 03/01/2012      112525
88 Sunbelt Construction                  03/01/2012      112524
89 Robert Branyon                        03/01/2012      112520
90 Forrest Beeco                         03/01/2012      112519
91 Hearnsberger Broadus Building Part.   03/01/2012      112523
92 MLB Ventures, Inc.                    03/01/2012      112522
93 Solomons Temple Church of God         03/01/2012      112521
94 Clinton Jase                          02/02/2012      111004
95 Andre Davis                           09/28/2011      108691
96 Linda Padgett                         09/28/2011      108676
